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                      UNITED STATES DISTRICT COURT

                          DISTRICT OF NEW JERSEY

 In re INTERCLOUD SYSTEMS, INC. )          Master Docket No.
 SECURITIES LITIGATION          )           3:14-01982-PGS-DEA
                                )
                                )          CLASS ACTION
 This Document Relates To:      )
                                )          DECLARATION OF JACK REISE,
        ALL ACTIONS.            )          ESQ. IN SUPPORT OF LEAD
                                )          PLAINTIFF’S MOTION FOR CLASS
                                )          CERTIFICATION
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       I, Jack Reise, Esq., declare under penalty of perjury pursuant to 28 U.S.C.

 §1746 as follows:

       1.     I am a member of the Bar of the State of Florida, and I am admitted pro

 hac vice to appear before the Court in this action.

       2.     I am a partner in the firm of Robbins Geller Rudman & Dowd LLP, Lead

 Counsel in this action. I submit this declaration to place documents before the Court

 in support of Lead Plaintiff’s Motion for Class Certification.

       3.     Attached hereto as Exhibit 1 is a true and correct copy of the Declaration

 of Charles R. Gilbert Jr., in Support of Lead Plaintiff’s Motion for Class Certification.

       4.     Attached hereto as Exhibit 2 is a true and correct copy of the firm résumé

 of Robbins Geller Rudman & Dowd LLP.

       5.     Attached hereto as Exhibit 3 is a true and correct copy of the firm résumé

 of Cohn Lifland Pearlman Herrmann & Knopf LLP, Liaison Counsel in this action.

       6.     Weekly Trading Volume. Attached hereto as Exhibit 4 is a true and

 correct copy of data regarding volume, shares outstanding, and turnover data gathered

 from Bloomberg L.P. for InterCloud common stock during the Class Period.

       7.     Brokers and Institutional Investors. Attached hereto as Exhibit 5 is a

 true and correct copy of a list compiled from Bloomberg L.P., indicating that there

 were 62 market makers for InterCloud common stock during the Class Period.




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       8.     Attached hereto as Exhibit 6 is a true and correct copy of a list, compiled

 from Thompson Financial, of the 14 institutional investors that reported holding

 InterCloud common stock during the Class Period, along with their reported quarterly

 positions in the stock.

       9.     Eligibility to File Form S-3. The current requirements for filing a Form

 S-3 registration statement are that a company be organized and operating under the

 laws of the United States or its territories, has filed reports under the Exchange Act for

 twelve calendar months, has suffered no default of its obligations, and has an

 aggregate market value of common equity held by non-affiliates of $75 million or

 more. See SEC Form 1379, “Form S-3 Registration Statement Under the Securities

 Act of 1933, General Instructions,” as revised August 2001. Attached hereto as

 Exhibit 7 (a, b and c) are excerpts of documents demonstrating that InterCloud was

 eligible to file Form S-3 Registration Statements.

       10.    Price Reaction to Unexpected New Information. Attached hereto as

 Exhibit 8 is a true and correct copy of a stock price and volume chart for InterCloud

 stock demonstrating stock price movement during the Class Period.

       11.    Attached hereto as Exhibit 9 is a true and correct copy of the Article

 entitled “5 Reasons To Buy InterCloud Systems Right Now,” published on December

 3, 2013.




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       12.    Attached here to as Exhibit 10 is a true and correct copy of the article,

 entitled “Watch How InterCloud Grows Under The Guidance Of Mark Munro”

 published on December 17, 2013, on seekingalpha.com.

       13.    Attached here to as Exhibit 11 is a true and correct copy of the article

 entitled “InterCloud Systems: A Cloud Integrator With Strong Growth Potential,”

 posted on January 13, 2014, on seekingalpha.com.

       I declare under penalty of perjury under the laws of the United States of

 America that the foregoing is true and correct. Executed this 1st day of June, 2016, at

 Boca Raton, Florida.

                                                         s/ Jack Reise
                                                         JACK REISE




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